













Opinion issued March 30, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00064-CV
____________

GAYLE LOUISE EATON, Appellant

V.

DENNIS LEAVITT MCCOLGIN, Appellee




On Appeal from the 306th District Court
Galveston County, Texas
Trial Court Cause No. 05FD0719




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss her appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


